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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                          CASE NUMBER
                               PLAINTIFF
                                                    CR 19-00673-RGK
                       v.

                                                             NOTICE TO COURT OF
 ANAHIT KHACHATRYAN,                                       RELATED CRIMINAL CASE
                               DEFENDANT.
                                                    (PURSUANT TO GENERAL ORDER 19-03)


       Plaintiff United States of America hereby informs the Court that the above-entitled

criminal case may be related to United States v. Armen Mkrtchyan, Case No. SA CR 16-00055-

AG, which:

          X       was previously assigned to the Honorable Andrew Guilford;

                  has not been previously assigned.

The above-entitled cases may be related for the following reasons:

          X       the cases arise out of the same conspiracy, common scheme, transaction,
                  series of transactions or events;

                  the cases involve one or more defendants in common and would entail
                  substantial duplication of labor in pretrial, trial or sentencing proceedings if
                  heard by different judges.

       Additional explanation (if any):

 Dated: November 18, 2019                                  /s/
                                                      CHARLES E. PELL
                                                      Assistant United States Attorney
